                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CHRISTOPHER MOEHRL, et al.,                        )
on behalf of themselves and all others             )
similarly situated,                                )
                                                   )
               Plaintiffs,                         )
                                                   )              No. 19-cv-01610
       v.                                          )
                                                   )              Judge Andrea R. Wood
THE NATIONAL ASSOCIATION OF                        )
REALTORS, et al.,                                  )
                                                   )
               Defendants.                         )


             ORDER APPOINTING INTERIM CO-LEAD CLASS COUNSEL

       This matter having come before the Court on Motion of Plaintiff to Appoint Interim Co-

Lead Class Counsel Pursuant to Fed. R. Civ. P. 23(g) in the above-captioned actions. See ECF

No. 50, IT IS HEREBY ORDERED THAT:

       1.      Pursuant to Federal Rule of Civil Procedure 23(g)(3), the Court designates as

Plaintiff’s Interim Co-Lead Class Counsel Cohen Milstein Sellers & Toll PLLC, Susman

Godfrey L.L.P., and Hagens Berman Sobol Shapiro LLP.

       2.      Interim Class Counsel shall be generally responsible for coordinating the

activities of Plaintiffs during pretrial proceedings and shall:

               a.      determine and present (in briefs, oral argument, or such other fashion as

                       may be appropriate, personally or by a designee) to the Court and

                       opposing parties the position of the plaintiffs on all matters arising during

                       pretrial proceedings;

               b.      coordinate the initiation and conduct of discovery on behalf of the

                       plaintiffs consistent with the requirements of Federal Rule of Civil
                        Procedure 26, including the preparation of joint interrogatories and

                        requests for production of documents and the examination of witnesses in

                        depositions;

                c.      conduct settlement negotiations on behalf of the plaintiffs;

                d.      delegate specific tasks to other counsel in a manner to ensure that pretrial

                        preparation for the plaintiffs is conducted efficiently and effectively;

                e.      enter into stipulations with opposing counsel as necessary for the conduct

                        of the litigation;

                f.      maintain adequate time and disbursement records covering services as

                        interim co-lead counsel; and

                g.      perform such other duties as may be incidental to proper coordination of

                        the plaintiffs’ pretrial activities or authorized by future order of the Court.

        3.      This Order appointing Interim Class Counsel shall apply to all related actions that

are filed in, transferred to, or removed to this Court, subject to the right of plaintiffs in those actions

to object to this Order. Plaintiff shall serve a copy of this Order on all new plaintiffs, and new

plaintiffs shall have 10 days from service to object to this Order.

        IT IS SO ORDERED.

DATED: May 30, 2020

                                                ANDREA R. WOOD
                                                UNITED STATES DISTRICT JUDGE
